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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DOW JONES & COMPANY, INC.

Plaintiff,
Vv.

ABLAISE LTD (“Ablaise”) Civil Action No. 1:06CV01014
and
GENERAL INVENTIONS Judge James Robertson

INSTITUTE A, INC., (“GIA”)

Defendants.

DOW JONES REUTERS
BUSINESS INTERACTIVE, LLC

Plaintiff,

y Civil Action No. 1:06CV01015

ABLAISE and GIA Judge James Robertson

Defendants.

SECOND DECLARATION OF PASCAL CHESNAIS

I, Pascal Chesnais, do hereby affirm and declare as follows:
I. Introduction

1. I am submitting this Declaration in conjunction with Dow Jones’s Motion for
Summary Judgment of Invalidity of U.S. Patent No. 6,961,737 (“the ‘737 patent”).

2. I submit this Declaration as a fact witness to put before the Court certain
documents and facts concerning Fishwrap. I have personal knowledge of the facts contained in

this Declaration and am not offering any expert opinions herein.
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3. I have read the Expert Invalidity Report of Azer Bestavros submitted on behalf of
Dow Jones and the rebuttal report of Ablaise’s expert Geoffrey Mulligan. The factual statements
that Dr. Bestavros attributes to me are correct and properly attributed.

I. Summary of Declaration

4. Fishwrap, a web-based personalized newspaper, was available to MIT students
beginning in the fall of 1993. See f{ 29-30, below. By December of 1993, Fishwrap had
features which allowed a user to add and remove news sections and news topics within sections,
thereby changing the displayed order of sections and topics in a table of content web page. See
{7 34, 38. By March of 1994, a Fishwrap user could access the personalized news features of the
Fishwrap server from outside of MIT. See f§ 39-40. Subsequently, Fishwrap included a
mechanism for reorganizing the order of display of news sections (“self-organizing feature”)
based on a user’s reading behavior as described in Douglas Koen’s Bachelor’s thesis submitted
in May of 1994. See {| 49. In March of 1995, Fishwrap Release Four, which implemented this
self-organizing feature, was released. See J] 46-50. Fishwrap served personalized HTML-
formatted web pages, created on-the-fly by the Fishwrap software communicating with the web
server software through the Common Gateway Interface (CGI). See J 48, 54-56, below.

5. Fishwrap was the subject of TV news reporting and many traditional print media
news articles prior to May 15, 1995, including articles which disclosed the self organizing
feature. See § 41. Additionally, Fishwrap, as well as the underpinning research, systems, and
algorithms were the subject of many academic papers and presentations prior to May 15, 1995.
See, e.g., Ex. 1, Ex. 2, Ex. 3, Ex. 5, Ex. 8, Ex. 9, Ex. 10, and Ex. 15.

6. I was able to locate old server computers which served as Fishwrap servers in the
mid- to late-1990s. From these servers I was able to recover source code and other computer

files showing how Fishwrap was implemented prior to May 15, 1995. See Ex. 11, Ex. 34, Ex.

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36, Ex. 37, Ex. 40, Ex. 41, Ex. 42, Ex. 43, Ex. 44, Ex. 45, and Ex. 46. These exhibits include the
source code files upon which Dr. Bestavros relied for his opinion of invalidity of the ‘737 patent.
Iii. My Background and Experience

7. I received a Bachelor of Science degree in Computer Science from Hofstra
University in 1985. I received a Master of Science degree in Visual Studies from the
Massachusetts Institute of Technology (hereinafter “MIT”) in 1988 and a Doctor of Philosophy
degree from MIT in Media Arts and Sciences in 2000.

8. From 1986 to 1999, during my graduate studies, I was a graduate research
assistant, Research Specialist, and Research Assistant at the MIT Media Laboratory (hereinafter
“Media Lab”) Electronic Publishing Group. During this time (and in fact, prior to May 15, 1995,
which J understand is the priority date for the ‘737 patent), I worked on, among other projects,
the “Network Plus” electronic news system, which provided for computer displays of relevant
wire stories alongside a live broadcast of the evening news; I conducted research for “News in
the Future” which focused on personalized news systems including user modeling, knowledge
representation, news database servers, and presentation technologies; and I led the Fishwrap
project, designing the core architecture and managing graduate and undergraduate students in its
implementation.

9. Just prior to receiving my Ph.D., I co-founded MessageMachines, Inc. and led the
technology development of the company, designing and implementing product prototypes and
applications. While developing technologies for MessageMachines, I also consulted for the
Media Lab on intellectual property transfer.

10. Following a successful sale of MessageMachines to NMS Communication in

2002, I was the founding member and Director of Research of Orange Labs Boston, a new
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facility of France Telecom Research and Development. Orange Labs Boston is now composed
of over 50 research and development engineers and I have led project teams developing
prototypes of new mobile and fixed applications and services with themes including
personalization systems, presence-enabled interactions, and multi-publication. Currently, I am a
director of research at France Telecom.

11. I am an inventor of U.S. Pat. Nos. 5,005,559 and 7,272,662, entitled “Systems and
methods for routing messages to communications devices over a communications network.” I
am also an inventor of pending patent applications as published in U.S. Pat. Appl. Pub. Nos.
2005/0227711, 2006/0024647, 2006/0150119, 2007/0197260, 2007/0153091, and
2007/0150444.

12. In preparing this Second Declaration concerning my personal knowledge of
Fishwrap I am being reimbursed for my time at the rate J normally charge for my time. I have no
personal or financial interest in the outcome of this litigation.

IV. Development of the Fishwrap System

13. MIT has a long history of performing research in personalized news systems. The
first major proof of concept system was called “Newspeek,” which, in 1984, could draw on
sources such as Dow Jones News Retrieval and Nexis to interactively deliver news articles to a
user’s computer monitor. See Ex. 1 at 36-37. Stewart Brand described Newspeek in his 1987
book “The Media Laboratory: Inventing the Future at MIT,” highlighting Media Lab director
Nicholas Negroponte’s statement that “intense personalization to the user is at the heart of most
of [Media] Lab’s projects.” Id. at 37. Brand further highlighted Media Lab’s emphasis on

researching the interface of the personal electronic newspaper, quoting Negroponte’s
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appreciation of the Wall Street Journal providing an international news synopsis with particular
type faces and in a particular location on the page. Id. at 38-39.

14. While at the Media Lab, I performed research in personalized news technologies
as part of my graduate studies and as a member of the sponsored research staff. One prototype,
“Network Plus,” demonstrated the real-time convergence of broadcast news and print media.
See Ex. 2. This research is documented in “News and Movies in the 50Mbs Living Room” by
Andrew Lippman and Walter Bender, Ex. 2, and appeared in IEEE GlobeCom 1987. This paper
discloses use of a user profile which is updated to reflect the user’s evolving interests by
inferring the user’s preferences as the user uses the system. Id. § 2.4. While a member of the
sponsored research staff, I was responsible for leading projects in this area, including Fishwrap,
News in Education, and others.

15. In 1991, Media Lab presented a paper entitled “Newspace: Mass Media and
Personal Computing” at the USENIX conference, an advanced computing systems annual
conference. Ex. 3 (“USENIX paper”). The authors postulated that news systems should provide
news based upon the user’s interests and take into account the user’s knowledge level and style
preferences. Id. § 1.3. The authors disclosed their development of Newspace, a distributed
personalized news system and proof of concept for personalized news delivery that included a
distributed user modeling component, a news gathering element, and a presentation system
interconnected over a network in a platform independent manner. See id. § 1.5. The authors
heralded the benefit of being able to personalize both content and presentation. Id. § 3.0.

A. Early Development of Fishwrap

16. In December 1992, Walter Bender, then-director of Media Lab’s Electronic

Publishing Group, and I and a group of our freshmen advisees made a proposal to the deans to
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create personalized newspapers for the next year’s incoming freshmen. See Ex. 10
(“Personalized Newspaper Project for Residence/Orientation Week, 1993, Massachusetts
Institute of Technology”). We proposed individualized publications that would include content
from freshmen’s home towns and advertising related to their interests. See id. at 4, 7. As early
as this initial proposal, we recognized that “not only the content of the newspaper can be dictated
by the reader, but the style, format and presentation of the newspaper may be customized as
well.” Id. at 3-4. We first started calling the newspaper and the server Fishwrap in August or
September of 1993.

17. Also in December 1992, Bender, Jonathan Sheena (an undergraduate researcher),
and I met to discuss a framework for personalized news systems called GLUE. Our intent was to
streamline personalized news prototypes at Media Lab. Evidence of this discussion and
disclosure to the other researchers at Media Lab in January 1993 is shown in the e-mails dated
December 1992 and January 1993 authored by Sheena, attached as Ex. 4, and sent to Bender,
me, and the Media Lab Electronic Publishing Group.

18. Sheena and Douglas Koen, another undergraduate researcher, implemented the
GLUE system in spring of 1993 under my direction. Koen and I presented the results at
NeXTworld Expo, a developer and user conference and product exposition centered around
NeXT computers held in May 1993 at the Moscone Center in San Francisco. See Ex. 5 (slides
and handouts used during our presentation).

19. Based on the concepts described in the USENIX paper, GLUE connected the
various components of the personalized news system. GLUE’s user modeling component
connected to the user’s profile which contained information about the individual user’s

preferences — including what content to include in a particular delivery mode (email, interactive
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application, whether to deliver a hard copy or web hypertext copy (Fishwrap), etc.). In a
subsystem called Bookie (for bookkeeping), GLUE maintained a list of articles presented to and,
presumably, read by an individual user. It also maintained a record of the presentation format of
such information to the user (i.e., presented on printed paper, as an email, soft copy, etc.).

20. | GLUE connected to a server that collected news of different media and different
sources (photos, sound, and news wires) and stored them in a uniform database. GLUE utilized
a knowledge representation that described news topics in a source-independent way based on
“Sponge,” a knowledge representation concept by Jon Orwant, then an MIT Masters candidate.
See Ex. 8, Orwant, “Doppelganger Goes to School: Machine Learning for User Modeling”
(1993) at 24. Sponge was a back-end element that processed news articles and determined
whether an article fit into a specified topic.

21. GLUE depended on a portable data representation and software library called
Dtype. Using the Dtype library of routines, data could be stored and retrieved locally or across a
network in an architecture-independent manner. Dtypes were useful for creating database
servers quickly. See Ex. 9 (1992 Technical Report describing Dtypes).

22. One custom application of GLUE, “Stoker,” was developed. Upon start up,
Stoker established the user id from the current login username. Stoker used the user id to obtain
the user’s profile, in which were stored the user-defined sections, topics within the sections, and
the state of where the sections were to be rendered in display postscript using NextStep (the
operating system used by a NeXT computer).

23. Within Stoker, a user could control the layout of the documents. Ex. 5 at AB-
DJ0019529-31 shows examples of news information rendered to a user. Referring to id. at AB-

DJ0019530, the top tabs were user-defined sections (Morbid, Features, Interests, Movies, and

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Serious). The vertical tabs showed topics within the selected section (texas and United_Nations
[sic]). In this example, the selected section was “Serious” and the selected topic was “Texas.”
and “United Nations”. The four mini-box windows showed the on-topic articles.

24. — Left-clicking on a mini-box article expanded the view of the article to full-page
size and allowed a user to page through the article. Right-clicking on the article allowed the user
to page through the article in the mini-box size. Dragging any one of the tabs changed the order
of the tabs so that the next time a user ran Stoker on the same computer, the section and topic
ordering would be as previously set by this dragging and dropping. The data pertaining to the
user’s desired order was stored locally on the NeXT computer so that the user could have distinct
home and work versions of their Stoker preferences.

25. When the user invoked the “Section Handler” interface, the user was allowed to
change, add, and remove sections and change, add, and remove topics within sections. See Ex. 5
at AB-DJ0019531. To add a section, a user could type a section name and click add. To add a
topic to a section, a user would select a section and then highlight topics to add to the section. A
user profile stored on the main server stored information pertaining to the user’s topics and
sections.

26. Stoker, while still a work in progress, was also demonstrated at the NeXTWorld
presentation in May of 1993. See Ex. 5 at AB-DJ0019529-31. Ex. 6 and Ex. 7 are copies of
Koen’s and my speaking notes, respectively, showing our conference discussion points.

27. Also in May of 1993, Media Lab launched a research consortium called “News in
the Future,” of which I was a member. Major industry leaders, including Gannett, Knight-
Ridder, Tribune Media, JC Penney, Advanced Publications, and Almamedia, sponsored the

research.

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28. By summer of 1993, there were many web-browsers in addition to the original,
“WorldWideWeb,” which had been developed by Tim Berners-Lee at CERN on a NeXT
computer in 1990. Because there appeared to be swelling support for information delivery via
HTML and the World Wide Web, we decided to use web pages and the Mosaic browser (also _
known as Xmosaic on X Windows systems) as a delivery medium for the freshman’s paper.

B. The Public Use of Web-based Personalized Formatting on Fishwrap prior to
May 15, 1995

29. In fall of 1993, The Freshman Fishwrap was announced to the MIT community
via hallway posters, posting to MIT online bulletin boards, and news articles published online
and in print. See, e.g., Ex. 16, “Freshman Seminar Develops Electronic Newspapers,” published
in the campus newspaper, “The Tech” on October 5, 1993 (“[s]tudents will get the information
using an interface designed by the project’s organizers and implemented on Xmosaic....”); Ex.
17, “Freshman Fishwrap Adds International News, Features,” published in The Tech on
November 19, 1993; Ex. 26 “Wrapping Your Fish in Cyberspace,” published in MIT Spectrum
Dec. 1994 (photograph depicting students with hallway poster).

30. | When Fishwrap was made available in 1993, the MIT campus had over 400
public workstations on its “Athena” network. Athena users were uniquely identified by a
username. To access Fishwrap, a user would login on an Athena workstation with this username
and then start the Mosaic web browser. Because Fishwrap user profiles were centrally stored on
Fishwrap’s main server, users could access their Fishwrap personalized web-based newspaper
from anywhere within the Athena network of workstations.

31. Each user’s profile contained information about which articles were presented and
read, and how they were delivered (i.e., electronic mail or web frontend). Additionally, user’s

newspaper preferences were stored in the user profile database, including section information,

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topics within each section, and personal topic definition. Later versions of Fishwrap, but still
before May 15, 1995, stored data in the individual user database about how the user navigated
their personal news presentation. Details of the user profile databases are shown in Ex. 11 and
Ex. 12. Although the file modification dates associated with Ex. 11 and Ex. 12 post-date May
15, 1995, the exhibits properly reflect the structure of the user profile in use prior to May 15,
1995.

32. After launching the Mosaic web browser, the user would navigate to Fishwrap’s
home page at http://fishwrap.mit.edu/ (this page was available on the internet as well as via the
Athena network). From Fishwrap’s home page, the user could select a link to enter the
personalized news system where the user would the enter a user id.

33. Fishwrap would check for the existence of a user profile associated with the user
id. If present, Fishwrap would return a page that would allow the user to decide if they wanted
to generate a personalized newspaper or enter PaperBuilder to edit their profile. If no profile was
found, the user would go through an initialization phase to create it. Users were asked three
questions upon signing up for the service: What [academic] year are you?; what majors interest
you?; and what is your home town? This would create a base user profile for the user that would
have topics related to the majors of interest and geographically relevant news to their home. The
question about year would allow for news relating to their year (e.g., news for freshmen) to be
routed to them.

34. Once a profile was present for a user, GLUE would be used to select articles and a
personalized newspaper would be generated for the user. In its initial version, Fishwrap would
generate and send to the user’s browser a web page having a table of content listing the user’s

selected sections in the order in which the sections were listed in the user profile. The order of

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sections listed in the user profile was determined by the order in which the user added and
deleted sections. Fishwrap users could click on a topic link which would generate a summary of
articles present in the news server matching that topic. The Fishwrap user could click on articles
of interest in the topic summary to see the complete article, including related media.

35. Fishwrap collected its news in a Dtype-based server called “betty”. Fishwrap
feeds came from the Associated Press, Reuters, Knight-Ridder, and ABC Capitol Cities. Content
was stored in an ordered list on the server. Fishwrap would serve content to the user such that
the client’s browser would display the content in the order received from the server. The
majority of Fishwrap news was in text format. The Associated Press provided photos and
Fishwrap would match photos to stories based on tags and captions. Fishwrap also received
audio reports from ABC Radio with textual transcripts. Browsers at MIT supported playback of
audio with an external player.

36. | When an article was displayed that matched more than one topic, Fishwrap would
display the list of topics to the user so that the user could view more articles on that topic or add
the topic to their paper profile.

37. If GLUE could not find any articles to present to the user, Fishwrap would present
a message indicating that no articles were available and bypass the functions of processing the
personal presentation (i.e., reordering articles received). This situation would arise when a user
had a limited number of topics for which there were few articles or when bookie was set to
“eliminate all read articles” and the user’s profile indicated that the articles in the news server
had already been read by the user.

38. As available in December 1993, Fishwrap’s PaperBuilder feature allowed users to

modify their user profile in order to add and remove sections and topics, thus allowing a user to

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change the ordering of sections in their personalized newspaper. The user’s sections were stored
on the server in an ordered list. Ex. 41 is source code for the PaperBuilder feature in a source
code file called user_profile.c. Comments at lines 5 and 6 indicate the availability of this feature
in December 1993.

39. In July 1994, Fishwrap included the ability of generating an electronic “coupon”
which allowed users to access Fishwrap from any internet-connected computer (permitting users
without access to an Athena workstation to access Fishwrap). The “coupon” consisted of an
HTML text file that contained the user’s profile. When transferred to another computer, the
“coupon” authenticated a Fishwrap user to Fishwrap.

40. Elaine Hooker, Vice President, Membership at Associated Press, used the coupon
system to access Fishwrap from Associated Press headquarters in New York in 1994. Ex. 14 isa
copy of emails dated November 17, 1994 that I sent to Hooker. The first e-mail, Ex. 14 lines 1-
47 included my profile and instructions for accessing the Fishwrap system from outside MIT
using the profile. The second e-mail, Ex. 14 lines 48-106 contained information on where to
obtain a Mosaic browser and how to save and use the profile contained in the prior e-mail. Ex.
13 is an example of what Hooker would have seen using a Mosaic browser based on the profile
sent in the e-mail. Ex. 12 is the profile format. The Fishwrap coupon system employed the use
of the cgi-bin program key.pl on the Fishwrap main server. See Ex. 42.

41. Fishwrap was regularly mentioned in the press after MIT issued a press release in
March 1994. See Ex. 18, Ex. 19, Ex. 20, Ex. 21, Ex. 22, Ex. 23, Ex. 24, Ex. 25, and Ex. 26.
Fishwrap was featured in a New England Cable News report on July 27, 1994. I provided a copy
of this video to Dow Jones and understand that they provided it to Ablaise as documents

DJ5130353 and DJ5130354.

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42. Also, Fishwrap was presented at a News in the Future workshop in December of
1993, giving news industry executive a hands-on experience of the system, and at a follow-up
presentation m May 1994 which provided details of new features and results. See Ex. 27.

43.  Fishwrap was also presented to the Associated Press meeting of Arizona
newspaper editors in July 1994. A description of the News in the Future program, underlying
technologies in Fishwrap and the Fishwrap experience were discussed. Slides from NeXTworld
presentation, Ex. 5, were used to lead the discussion about GLUE.

44. All Fishwrap software was transferred to and installed at the Helsinki Technical
University in the summer of 1994 as part of a collaboration with the Almamedia organization.

45. A paper on the Fishwrap experience was put online January of 1995. Ex. 28.
This paper was publicly available at http://fishwrap-docs.www.media.mit.edu/docs/dev/CHI95/
chi95.html. This paper had been submitted for the CHI ‘95 conference and peer reviewed. I
announced the online availability of this paper January 3 and 4, 1995 in e-mail messages
attached as Ex. 29. Other Fishwrap documents were publicly available online at http://fishwrap-
docs.www.media.mit.edu/docs/ as stated in Ex. 29; a subset of these documents is listed in Ex.
34.

46.  Fishwrap Release Four included a mechanism for reorganizing the presentation
order of the display of the news presentation based on observations of how the user navigates
their news presentation over time. These observations are generated when the user clicks on the
hypertext link to display the topic summary of articles. The observations are recorded in the
user’s profile database.

47. Fishwrap Release Four was made widely available after three months of

development on March 17, 1995. Ex. 35 is an email from me dated March 17, 1995, in which I

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announced the availability of Fishwrap Release Four. Ex. 36 is a copy of a publicly available
web page, “Get Set for Release Four!” (last modified March 16, 1995 and available as of that
date at http://fishwrap.mit.edu/RelFour.html) which detailed the capabilities of Fishwrap Release
Four.

48. In Release Four, we removed all remaining dependencies of the Athena network
filesystem for user authentication, which means a user didn’t need to use the “coupon” any more.
All functionality of Fishwrap was made through CGI functions on an http server such that each
page was dynamically generated.

49. _—_ Release Four’s reorganizing method is the topic of Koen’s Bachelor’s thesis, Ex.
15, which he completed and submitted to the Department of Electrical Engineering and
Computer Science in May of 1994. This thesis describes all of the features of Fishwrap upon
which Dr. Bestavros relied for his invalidity opinion.

50. Ex. 37 is a copy of a “Help” web page which I created on March 5, 1995,
instructing users on the various features of the Fishwrap system. Ex. 38 is a copy of an email I
sent on March 5, 1995, announcing that I had added the Help file to the website at
http://fishwrap-people.www.media.mit.edu/fish_people/HelpMe.html. As shown on the Help
web page, Ex. 37 at DJO165059, a user could access Fishwrap at http://fishwrap-
people.www.media.mit.edu/cgi-bin/fish_people/toc. Browsing to that address caused the
Fishwrap server to execute the toc program in the cgi-bin directory, the source code of which is
Ex. 40. However, because this code was in a protected directory, the Fishwrap server would not
execute the code unless the user was authorized. The server would request authorization
credentials from the browser. For most browsers, a pop-up window asking for username and

password would be presented to the user. The browser then submitted the username and

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password to the server and stored local copies of the username and password. If during the same
browser session the user attempted to access another page or file in the protected directory, the
browser would send the stored username and password without further intervention from the
user. The toc program was configured to determine whether there existed a profile for the user.
If a profile did not exist, the user would be requested to fill out a survey to create a profile. Ifa
profile existed for the user, the toc program would determine whether the user had previously
generated a newspaper. If so, the server would transmit to the user the “Daily Me Expert” web
page (i.e., the contents of the HTML file named “dailymexpert.html”), otherwise the server
would transmit to the user the “Daily Me” web page (i.e., the contents of the HTML file named
“dailyme.htm!”). While the “last modified” date of Ex. 40 is May 4, 1996, all of the
functionality discussed by me in this Declaration and relied upon by Dr. Bestavros in his opinion
of invalidity was present prior to May 15, 1995 as Fishwrap Release Four functionality.

51. Ex. 30 is a copy of the HTML code for the “Daily Me” web page dated March 16,
1995 (pre-Release Four). Ex. 31 is a copy of the HTML code for the “Daily Me” web page
dated April 9, 1996 (post-Release Four). Both show a link labeled “Generate new edition,” and,
in both, the code for the link shows that mpaper.pl is to be executed if the link is selected. See
Imes 10 and 9, respectively, in Ex. 30 and Ex. 31.

52. The source code for mpaper.pl is attached as Ex. 43. mpaper.pl invokes
perlpaths.pl, Ex. 44, which shows at line 61 that the user identifier is obtained from the browser
through the “REMOTE_USER” field—a field obtained through the Common Gateway Interface
(CGI). mpaper.pl next invokes “sodpaper.” See Ex. 43, line 14. While the “last modified” date

of Ex. 43 and Ex. 44 is 1996, all of the functionality discussed by me in this Declaration and

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relied upon by Dr. Bestavros in his opinion of invalidity was present prior to May 15, 1995 as
Fishwrap Release Four functionality.

53. sodpaper is the name of the executable program file obtained by compiling source
code contained in the file sodpaper/appMain.c, a copy of which is attached as Ex. 45. As can be
seen in the header of this exhibit, this copy of the source code was last modified in 1996. This is
the oldest copy of this program that I could locate. But, as can be seen in the “Modification
History” on lines 10-15, this program had a long history prior to May 15, 1995. In fact, the
modification to this program after May 15, 1995, was minor and completely unrelated to the
functionality upon which Dr. Bestavros bases his opinion of invalidity and this functionality was
present prior to May 15, 1995.

54. The sodpaper routine obtained the user identifier, see Ex. 45 1. 126, and created
and filled, using the glue routine, a data structure called a “jar” with articles pertaining to the
user’s desired topics. Id. II 145-165. Then sodpaper opened an HTML buffer for the user’s
“Daily Me,” essentially the table of contents for the user’s personalized newspaper. Id. 1. 167.
If, when glue was executed, no articles matching the user’s selected topics and sections were
found, a “no articles” message was written to the HTML buffer. Id. Il. 196-201. Otherwise,
sodpaper called “incorporatefeedback,” a function which obtained the user’s prior reading
behavior and incorporated it with the user’s section and topic preferences. Id. 1. 208. The source
code for the incorporatefeedback function is found on lines 67-172 of source file rra.c, of which
a January 15, 1994 copy is attached as Ex. 46.

55. The sodpaper program then executed the makeFBfiles function, Ex. 45 |. 213, the
source code of which is found at lines 535-666. This function was configured to: (1) select the

first section in the user’s profile, (2) add to a “topics” list only those topics within the selected

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section that have at least one article associated with the topic, (3) add the selected section to a
“sections” list if the section has at least one topic with at least one article, and then (4) reorder
the list of topics based on information about the user by calling the “reorder” function. Id. Il.
561-636. These four steps were repeated for each other section in the user’s profile. Id. After
this processing was completed, the “section” list was reordered based on user information. Id. Il.
645. The reorder function, found in rra.c, Ex. 46 I. 447-472, used the C-library function qsort in
conjunction with the compare_elements function, see id. ll. 286-360, to change the order of
sections and topics based in part on relative frequencies and sequences of a user’s browsing to
the various sections and topics. See id. ll. 309-313. The frequency/section/topic information
was stored in a file identified by the user’s id. See Ex. 46 Il. 81-89. As an example of relative
reordering, if a user always read sports before news or more frequently than news, the algorithm
would eventually reorder the sports section to be displayed before news section.

56. Once the list of sections and topics within each section were reordered, the
sodpaper program generated an HTML table of contents file that listed the sections and topics in
the reordered order by outputting to the HTML buffer the sections and topics in the reordered
order. The HTML buffer was then closed so that the “Daily Me” table of contents could be
served to the user’s browser. Ex. 45 Il. 217-330. sodpaper called the routines addsection2DM,
addservertopic2DMtoc, and opentopictoc to output the sections and topics to the HTML buffer.
See id. ll. 274, 282, and 296. The source code for these routines is found in toc.c, attached as Ex.
47. See Ex. 47, ll. 456-459, 483-526, and 529-577, respectively. Although Ex. 47 was modified
in 1997, the relevant functionality implemented by these routines was implemented prior to May

15, 1995.

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57. In March of 1995, I, Sheena, and undergraduate student Matthew Mucklo
completed a paper explaining the Fishwrap system for presentation at the Second International
Workshop on Community Networking and e-mailed it to a workshop organizer. See Ex. 33.
This paper was also distributed to Media Lab visitors in April 1995 prior to appearing in the
Workshop’s proceedings in June of 1995. See Ex. 32.

58. | Documentation for Fishwrap was made publicly available on the World Wide
Web in December 1994 at URL http://fishwrap-docs.www.media.mit.edu/docs. The publicly
available documents describing the implementation of Fishwrap are listed in Ex. 34.

59. A technology disclosure, Ex. 39, for the “FishWrap Personalized News System”
was filed with the MIT Technology Licensing Office May 31, 1995 as a result of a technical
paper being accepted for publication by the IEEE. The disclosure included a list of inventors, a
date of conception for the underlying technology, a first publication and first public disclosure.
This disclosure was part of an MIT intellectual property protection process. MIT did not pursue
a patent application because the invention was found to be fully disclosed at the NeXTworld
Expo as of May 25-27, 1993. Ex. 5 is a copy of our materials which were available at
NeXTWorld.

60. As part of Media Lab’s Fishwrap efforts, we evaluated different web server
software, including the Plexus web server. The software package for the Plexus server was
downloaded to a Fishwrap server December 1, 1994. See Ex. 48. One of the components of the

Plexus server software package was parscan, a source code listing of which is found in Ex. 49.

I declare under penalty of perjury that the
foregoing is true and correct.

Executed on October 7, 2008.

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Signature: | 10/ 7/ 200K
PAscal Chesnais

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Attachments to this Declaration:

Description

Ex. 1 Stewart Brand, The Media Laboratory: Inventing the Future at
MIT 36-39 (Penguin 1988)

Ex. 2 Andrew Lippman & Walter Bender, News and Movies in the
50mbs Living Room, in Globecom’87 (IEEE 1987)

Ex.3 Walter Bender et al., Newspace: Mass Media and Personal
Computing, (1991)

Ex. 4 Electronic mail messages, dated Dec 28, 1992 and Jan. 4,
1993 authored by Jonathan Sheena

Ex. 5 Pascal Chesnais & Douglas Koen, Strategies for Personal
Dynamic Systems: News in the Future, in NeXTWorld
Developer Conference Proceedings (1993)

Ex. 6 Douglas Koen, speaking notes for NeXT World presentation,
May 1993

Ex. 7 Pascal Chesnais, speaking notes for NeXT World presentation,
May 1993

Ex. 8 Jon Orwant, Doppleganger Goes to School: Machine Learning
for User Modeling, Massachusetts Institute of Technology
Masters Thesis (1993)

Ex.9 Nathan Abramson, The Dtype Manual or, How to Write a

Server in Less Time it Takes to Read This Manual , Technical
Report, MIT Media Laboratory Electronic Publishing Group
(1992)

Ex. 10 Brad Bartley et al., Personalized Newspaper Project for

Residence/Orientation Week, 1993 Massachusetts Institute of
Technology, Newspapers of the Future Freshman Seminar,
submitted to MIT Deans and MIT Committee on the Use of
Humans as Experimental Subjects (1992)

Ex. 11 C-program source code from FishWrap Seminar Handouts

Ex. 12 “Profiles/Profile Directory” from FishWrap Seminar

Handouts

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Description

Ex.

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Ex.

13 profile.html rendered with MOSAIC

14 Electronic mail messages from Chesnais to Elaine Hooker at
AP, “Here is pascal profile” and “intro to fishwrap coupons...”
both dated Nov. 17, 1994

15 Douglas Koen, Automated Restructuring of an Electronic
Newspaper, MIT Bachelor’s Thesis, May 1994

16 Eric Richard, Freshman Seminar Develops Electronic
Newspapers, The Tech (Massachusetts Institute of
Technology), Oct. 5, 1993

17 Eric Richard, Freshman FishWrap Adds International News,
Features, The Tech (Massachusetts Institute of Technology),
Nov. 19, 1993

18 Christy Fisher, MIT Media lab developing a ‘Daily Me’ for
everyone, Advertising Age, Apr. 25, 1994

19 Michael Putzel, Future Newspapers Evolving Technology
Offers Variety of Options, The Boston Globe, Apr. 8, 1994, at
65

20 Birgitta Forsberg, Freshman Fishwrap: MIT’s paper on PC,
The Cambridge Chronicle, May 19, 1994, at 15

21 Read all about it in the Daily You, originally published in
Communicating Business (Forward Publishing, London),
Winter 1994/1995

22 Caught in the Info Net, Frames (Massachusetts Institute of
Technology), Mar. 1994, at 2

23 David Brooks, Extra! Electronic Extra: At MIT they’re
playing with the future of News, Nashua Telegraph, July 3,
1994

24 Freshman Fishwrap, MIT Research Digest, March 1994

25 Elizabeth Thompson, Freshman Publishing Experiment Offers
Made-to-Order Newspapers, MIT Tech Talk, Mar. 19, 1994

26 Carla Lane, Wrapping Your Fish in Cyberspace, MIT
Spectrum, Winter 1995 (published Dec. 1994)

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Description
Ex. 27 “News in the Future Workshop. The Freshman Fish Wrap”

Ex. 28 Pascal Chesnais, Reactions to FishWrap: an Experimental
Online Personalized Newspaper, MIT Media Laboratory,
January 1995.

Ex, 29 Electronic mail messages from Chesnais “CHI paper URL”
dated Jan. 3, 1995 and “Fishwrap Documentation Center”
dated Jan. 4, 1995.

Ex. 30 “Daily Me” web page, dated Mar. 16, 1995

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. 31 “Daily Me” web page, dated Apr. 9, 1995

Ex. 32 Pascal Chesnais et al., The FishWrap Personalized News
System, Proceedings of the Second International Workshop
on Community Networking, 1995.

Ex. 33 E-mail from Chesnais to Conference organizer attaching copy
of paper, Ex. 32.

Ex. 34 Listing of documents available at http://fishwrap-
docs. www.media.mit.edu/docs/dev in 1994

Ex. 35 E-mail from Chesnais to Fishwrap developers “release four is
online,” dated Mar. 17, 2008

Ex. 36 Get Set for Release Four!
Ex. 37 Welcome to Fishwrap, online helpfile

Ex. 38 E-mail from Chesnais to Fishwrap developers “HelpMe.html”
dated Mar. 5, 1995 indicating public availability of Fishwrap
help document.

Ex. 39 M.I.T. Technology Disclosure, MIT Technology Licensing
Office, May 31, 1995

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.40 Perl program source code: toc
Ex. 41 C program source code: user_profile.c
Ex. 42 Perl program source code: key.pl

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. 43 Perl program source code: mpaper.pl

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Description

Ex. 44 Perl program source code: perlpaths.pl~

Ex. 45 C program source code: sodpaper appMain.c
Ex. 46 C program source code: rra.c

Ex. 47 C program source code: toc.c

Ex. 48 Listing of Plexus files downloaded Dec. 1, 1994 to Fishwrap
server

Ex. 49 Perl program source code parscan.pl

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